    Case 7:19-cv-08062-AEK Document 1 Filed 08/28/19 Page 1 of 17




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
____________________________________
SHUZHONG BAO,                                        Case No.: 19-cv-8062
BIBO ZENG,
                       Plaintiffs,                   VERIFIED COMPLAINT
         - against-                                  JURY TRIAL DEMANDED

XUGUANG WANG a/k/a JASON WANG,
YIFEN BAO,
ZOE WANG,
SUNWOO TRADE INC. and
506 PIERMONT AVENUE HOLDING CORP.,
                       Defendants.
______________________________________


     Plaintiffs SHUZHONG BAO, and BIBO ZENG, by and through their

undersigned attorneys, allege upon personal knowledge as to themselves, and upon

information and belief as to other matters, the following as their complaint against

Defendants XUGUANG WANG a/k/a JASON WANG,YIFEN BAO, ZOE WANG,

SUNWOO TRADE INC., and 506 PIERMONT AVENUE HOLDING CORP.



                             NATURE OF THE ACTION

1    This is a civil action for breach of contract, unjust enrichment, and fraud, for

    which Plaintiffs seek monetary relief, including damages, consequential damages,

    punitive damages, costs, fees, and interest.




                                JURISDICTION AND VENUE

2. The amount in controversy in this action exceeds Seventy-Five Thousand Dollars

    ($75,000.00), exclusive of interest and costs. Further, this controversy is between


                                            1
     Case 7:19-cv-08062-AEK Document 1 Filed 08/28/19 Page 2 of 17




     citizens of a State and citizens or subjects of a foreign state. Accordingly, this

     Court has diversity jurisdiction over this action under 28 U.S.C. § 1332.

3. Venue is proper in the Southern District of New York pursuant to 28 U.S.C. §

     1391(b)(1) because Defendants SUNWOO TRADE INC. and 506 PIERMONT

     AVENUE HOLDING CORP. resides in this judicial district.

4. In the alternative, venue is proper in the Southern District of New York pursuant

     to 28 U.S.C. § 1391(b)(2) and 28 U.S.C. § 1391(b)(3) because in this judicial

     district a substantial part of the events giving rise to the claim occurred.

5. In the alternative, venue is proper in the Southern District of New York pursuant

     to 28 U.S.C. § 1391(b)(2) and 28 U.S.C. § 1391(b)(3) because the real property

     located at 506 Piermont Ave, Piermont NY 10968 that is the subject of the action

     is situated within the jurisdiction of this court.




                                           THE PARTIES

6. The Plaintiffs, Shushong Bao and Bibo Zeng, are individuals residing in

     Rockland County, New York.

7.   Upon information and belief, the Defendants, XUGUANG WANG a/k/a JASON

     WANG, YIFEN BAO, and ZOE WANG, are individuals residing in 11 Iron Latch

     Ct., Upper Saddle River NJ 07458.

8.   Upon information and belief, the Defendant SUNWOO TRADE INC., is a

     corporation which owns two restaurants located at 506 Piermont Ave, Piermont

     NY 10968.

                                               2
    Case 7:19-cv-08062-AEK Document 1 Filed 08/28/19 Page 3 of 17




9. Upon information and belief, the Defendant 506 PIERMONT AVENUE

   HOLDING CORP., is a corporation which owns the real estate located at 506

   Piermont Ave, Piermont NY 10968.




                               STATEMENT OF FACTS

10. The Plaintiffs Shushong Bao and Bibo Zeng registered their marriage in Shanghai,

   China on April 26, 2007. They are both Chinese citizens.

11. Before February 2017, the Plaintiff Shuzhong Bao had continuously settled in

   Shanghai, China. Later, he settled in New York, USA. Before April 2017 the

   Plaintiff Bibo Zeng had continuously settled in Shanghai, China. Later, she settled

   in New York, USA.

12. The Defendant Yifen Bao is the Plaintiff Shuzhong Bao’s elder full biological

   sister, and they have the same parents.

13. The Defendant Xuguang Wang is the Defendant Yifeng Bao’s husband. The

   Defendant Zoe wang is the Defendant Yifen Bao’s daughter. The three Defendants

   are all US citizens settling in the USA.

14. Beginning at the start of 2016, the Defendants Xuguang Wang and Yifen Bao were

   trying to persuade the Plaintiffs to invest and remit money to them from China.

   The amount of money they asked for is $775,000.00 (USD).

15. Defendants Xuguang Wang and Yifen Bao have repeatedly promised to the

   Plaintiffs that the money they invested would be used to purchase a residential

   property and also for the restaurant business located at 506 Piermont Ave,

                                              3
    Case 7:19-cv-08062-AEK Document 1 Filed 08/28/19 Page 4 of 17




   Piermont, NY 10968. The Defendants Xuguang Wang and Yifen Bao made

   promises to the Plaintiffs that at this location companies would be headquartered,

   and as was promised several times both orally and through WeChat messages, the

   Plaintiffs would receive for their investment of money a total of 50% of the

   company’s ownership shares.

16. As the Defendants are the Plaintiffs’ relatives, the Defendants used this

   relationship to take advantage of the Plaintiffs. An agreement was made between

   the parties to raise RMB equivalent to $600,000.00 (USD) in China. Besides their

   own RMB equivalent to $400,000.00 (USD), the Plaintiff Bibo Zeng requested

   her parents Guibao Zeng and Shuiying Chen to lend her RMB equivalent to

   $200,000.00 (USD).

17. In May 2016, in order to get detailed information on how their daughter and son-

   in-law invested to the Defendants, Plaintiff Bibo Zeng’s parents traveled to the

   United States of America to discuss this arrangement face to face with Defendants

   Xuguang Wang and his wife Yifen Bao. Subsequently, in June 2016 the Plaintiff

   Bibo Zeng’s parents agreed to lend the RMB equivalent to $200,000.00 (USD) to

   the two Plaintiffs.

18. In June 2016, the Defendant Xuguang Wang and the Defendant Yifeng Bao

   informed the Plaintiffs to remit $600,000.00 (USD) to the following accounts

   from China:

       The Defendant Xuguang Wang Wells Fargo Bank Account#3138378454

       The Defendant Xuguang Wang Wells Fargo Bank Account#2047289919

                                           4
    Case 7:19-cv-08062-AEK Document 1 Filed 08/28/19 Page 5 of 17




       The Defendant Zoe Wang       Wells Fargo Bank Account#3165462486

       The Defendant Yifen Bao     Wells Fargo Bank Account#5000148337

       The Defendant Yifen Bao     Wells Fargo Bank Account#3138380773

       The Defendant Yifen Bao     Wells Fargo Bank Account#2047289919

       The Defendant Yifen Bao     Wells Fargo Bank Account#2237564162

       The Defendant Yifen Bao     Wells Fargo Bank Account#8298771588

19. By way of explanation, because of China’s control policy for foreign exchange the

   government allows each resident to exchange and remit the foreign exchange to

   the foreign county for $50,000 (USD) each year. Accordingly, twelve personal

   accounts were needed to exchange for US dollars and remit the foreign exchange

   to the USA.

20. The Plaintiff Bibo Zeng’s parents Guibao Zeng and Shuiying Chen directly

   remitted $200,000.00 (USD) through their own two personal accounts and their

   two relative and friend’s personal accounts to the Defendants.

21. The two Plaintiffs remitted a total of $100,000.00 (USD) after the RMB was

   exchanged into US dollars through their own two personal accounts. Besides,

   regarding the remaining $300,000.00 (USD), they transferred the money RMB

   equivalent to $50,000 (USD) to each of their six (6) relatives and friends. They

   used their personal account to change the money RMB into $50,000 (USD) and

   then directly remitted the foreign exchange to the accounts appointed by the

   Defendants.

22. On 06/08/2016 Guibao Zeng directly remitted $50,000 (USD) borrowed by the

                                          5
    Case 7:19-cv-08062-AEK Document 1 Filed 08/28/19 Page 6 of 17




   Plaintiff Bibo Zeng to the Defendant Xuguang Wang’s Wells Fargo Bank

   Account#3138378454.

23. On 06/08/2016 Shuiying Chen directly remitted $50,000 (USD) borrowed by the

   Plaintiff Bibo Zeng to the Defendant Yifen Bao’s Wells Fargo Bank

   Account#5000148337.

24. On 06/08/2016, after receiving the money from the Plaintiff Bibo Zeng, Yihua

   Bao remitted $50,000 (USD) to the Defendant Yifen Bao’s Wells Fargo Bank

   Account#2237564162.

25. On 06/12/2016 Shuiying Chen remitted the money borrowed by the Plaintiff Bibo

   Zeng $50,000 (USD) through Xiangfei Wu to the Defendant Yifen Bao’s Wells

   Fargo Bank Account#3138380773.

26. On 06/12/2016 the Plaintiff himself Zhuzhong Bao remitted $50,000 (USD) to the

   Defendant Yiffen Bao’s Wells Fargo Bank Account#8298771588.

27. On 06/12/2016 the Plaintiff Bibo Zeng remitted $50,000 (USD) from her own

   account to the Defendant Xuguang Wang’s Wells Fargo Bank

   Account#2047289919.

28. On 06/12/2016 the Plaintiff Shuzhong Bao remitted $50,000 (USD) through his

   father Mingyao Bao’s personal account to the Defendant Zoe Wang’s Wells Fargo

   Bank Account#3165462486.

29. On 06/13/2016 Shuiying Chen remitted the money borrowed by the Plaintiff Bibo

   Zeng $50,000 (USD)through Yuangu Jian to the Defendant Yifen Bao’s Wells

   Fargo Bank Account#2047289919.

                                         6
    Case 7:19-cv-08062-AEK Document 1 Filed 08/28/19 Page 7 of 17




30. On 10/18/2016 the Plaintiff Bibo Zeng remitted $50,000 (USD) through Liqun

   Xue’s personal account to the Defendant Yifen Bao’s Wells Fargo Bank

   Account#3138380773.

31. On 10/19/2016 the Plaintiff Bibo Zeng remitted $50,000 (USD) through Hongbo

   Xia’s personal account to the Defendant Yifen Bao’s Wells Fargo Bank

   Account#8298771588.

32. On 11/02/2016 the Plaintiff Bibo Zeng remitted $50,000 (USD) through Qianghua

   Rao’s personal account to the Defendant Yifen Bao’s Wells Fargo Bank

   Account#2237564162.

33. On 11/02/2016 the Plaintiff Bibo Zeng remitted $50,000 (USD) through Qinyun

   Sun’s personal account to the Defendant Yifen Bao’s Wells Fargo Bank

   Account#5000148337.

34. Regarding the above-stated facts, the Plaintiffs have the bank’s transfer voucher in

   China and the foreign exchange remittance receipts for remitting money to the

   three Defendants. In addition, the testimonies of the relevant people can be taken

   as proof.

35. In 2016, the Defendant Xuguang Wang established his company – the Defendant

   506 Piermont Avenue Holding Corp. The Defendant Xuguang Wang himself holds

   100% of the company’s shares.

36. On October 20, 2016 the Defendant ’s company 506 Piermont Avenue Holding

   Corp. purchased a three-floor house located at 506 Piermont Ave, Piermont NY

   10968. On the ground floor, there are two restaurants and the second and third

                                           7
    Case 7:19-cv-08062-AEK Document 1 Filed 08/28/19 Page 8 of 17




   floors are residential. The Plaintiffs reside in the second floor of the property at

   506 Piermont Ave, Piermont NY 10968.

37. On October 20, 2016 the Defendant Xuguang Wang purchased the two restaurants

   Freelance Café and Xaviar’s located at 506 Piermont Ave, Piermont NY 10968.

38. The Defendant Xuguang Wang established the Defendants’ Sunwoo Trade Inc.

   The Defendant Xuguang Wang himself holds 100% of the company’s shares.

39. The Defendants’ Sunwoo Trade Inc. is the holding corporation of the restaurant

   Freelance Café and the restaurant Xaviar’s. The restaurant Xaviar’s has changed

   its name, and is now called The Kitchen and is located in Piermont, NY.

40. After the Plaintiff Shuzhong Bao came to USA in February 2017, the Defendant

   Xuguang Wang and the Defendant Yifan Bao stated that they were not contented

   with the $600,000.00 (USD) (the money for investment). Stating that the

   operation of the two restaurants located at 506 Piermont Ave, Piermont, NY10968

   was in need of additional investment, they repeatedly asked for additional

   investment from the two Plaintiffs.

41. The Defendant Xuguang Wang and the Defendant Yifen Bao continued to promise

   orally that they would give the Plaintiffs the shares of the real estate and two

   restaurants located at 506 Piermont Ave, Piermont NY 10968. That means they

   can hold 50% of the shares of the Defendant 506 Piermont Avenue Holding Corp

   which owns the real estate as well as 50% of the shares of the Defendants’

   Sunwoo Trade Inc. which owns two restaurants.

42. Out of their trust for their relatives, the two Plaintiffs agreed to make additional

                                             8
    Case 7:19-cv-08062-AEK Document 1 Filed 08/28/19 Page 9 of 17




   investment in the two restaurants. From March 15, 2017 to January 22, 2018 they

   invested a total of $267,000.00 (USD) in the Defendants’ Sunwoo Trade Inc,

   which owns two restaurants.

43. From March 15, 2017 to January 22, 2018 the Plaintiff Shuzhong Bao wrote out

   checks twelve times from his bank account in USA (M&T Bank Account Number

   9867548902) to transfer $267,000.00 (USD) to the company’s account of the

   Defendants’ Sunwoo Trade Inc – M&T Bank Account Number 9869969650.

44. On March 15, 2017 the Plaintiff Shuzhong Bao used a check from his bank

   account in USA (M&T Bank Account Number 9867548902) to transfer

   $20,000.00 (USD) to the Defendants’ Sunwoo Trade Inc.’s account M&T Bank

   Account Number 9869969650.

45. On March 23, 2017 the Plaintiff Shuzhong Bao used a check from his bank

   account in USA (M&T Bank Account Number 9867548902) to transfer

   $25,000.00 (USD) to the Defendants’ Sunwoo Trade Inc.’s account M&T Bank

   Account Number 9869969650.

46. On June 26, 2017 the Plaintiff Shuzhong Bao used a check from his bank account

   in USA (M&T Bank Account Number 9867548902) to transfer three thousand US

   dollars to the Defendants’ Sunwoo Trade Inc.’s account M&T Bank Account

   Number 9869969650.

47. On June 29, 2017 the Plaintiff Shuzhong Bao used a check from his bank account

   in USA (M&T Bank Account Number 9867548902) to transfer $10,000.00 (USD)

   to the Defendants’ Sunwoo Trade Inc.’s account M&T Bank Account Number

                                        9
   Case 7:19-cv-08062-AEK Document 1 Filed 08/28/19 Page 10 of 17




   9869969650.

48. On July 7, 2017 the Plaintiff Shuzhong Bao used a check from his bank account in

   USA (M&T Bank Account Number 9867548902) to transfer $9,000.00 (USD) to

   the Defendants’ Sunwoo Trade Inc.’s account M&T Bank Account Number

   9869969650.

49. On July 20, 2017 the Plaintiff Shuzhong Bao used a check from his bank account

   in USA (M&T Bank Account Number 9867548902) to transfer $50,000.00 (USD)

   to the Defendants’ Sunwoo Trade Inc.’s account M&T Bank Account Number

   9869969650.

50. On September 18, 2017 the Plaintiff Shuzhong Bao used a check from his bank

   account in USA (M&T Bank Account Number 9867548902) to transfer

   $50,000.00 (USD) to the Defendants’ Sunwoo Trade Inc.’s account M&T Bank

   Account Number 9869969650.

51. On October 4, 2017 the Plaintiff Shuzhong Bao used a check from his bank

   account in USA (M&T Bank Account Number 9867548902) to transfer

   $15,000.00 (USD) US dollars to the Defendants’ Sunwoo Trade Inc.’s bank

   account, M&T Bank Account Number 9869969650.

52. On November 8, 2017 the Plaintiff Shuzhong Bao used a check from his bank

   account in USA (M&T Bank Account Number 9867548902) to transfer $5,000.00

   (USD) US dollars to the Defendants’ Sunwoo Trade Inc.’s account M&T Bank

   Account Number 9869969650.

53. On December 1, 2017 the Plaintiff Shuzhong Bao used a check from his bank

                                         10
   Case 7:19-cv-08062-AEK Document 1 Filed 08/28/19 Page 11 of 17




   account in USA (M&T Bank Account Number 9867548902) to transfer

   $20,000.00 (USD) to the Defendants’ Sunwoo Trade Inc.’s account M&T Bank

   Account Number 9869969650.

54. On December 20, 2017 the Plaintiff Shuzhong Bao used a check from his bank

   account in USA (M&T Bank Account Number 9867548902) to transfer

   $20,000.00 (USD) to the Defendants’ Sunwoo Trade Inc.’s account M&T Bank

   Account Number 9869969650.

55. On January 22, 2018 the Plaintiff Shuzhong Bao used a check from his bank

   account in USA (M&T Bank Account Number 9867548902) to transfer

   $40,000.00 (USD) to the Defendants’ Sunwoo Trade Inc.’s account M&T Bank

   Account Number 9869969650.

56. After the two Plaintiffs made an additional investment of $267,000.00 (USD) by

   January 22, 2018, the Defendant Xuguang Wang didn’t give the two Plaintiff the

   companies’ shares as was promised by him, and produced several excuses such as

   that the company’s accountant said the company’s shareholder cannot be added or

   said that the company’s lending bank did not consent to the addition of the

   company’s shareholder. However, the Defendants never let the two Plaintiffs meet

   with the company’s accountant or the clerks of the lending bank so that they are in

   no position to know the actual situation.

57. For a long time, the Plaintiffs asked for the company’s shares but in vain and

   gradually the Plaintiffs feel it is impossible for them to obtain the company’s

   shares. Then, they are very worried that the money of investment will not be

                                          11
   Case 7:19-cv-08062-AEK Document 1 Filed 08/28/19 Page 12 of 17




   returned to them. Therefore, on May 16, 2018 through WeChat, the Plaintiff

   Shuzhong Bao sent the drafted borrowing contract to the Defendant Xuguang

   Wang and the Defendant Yifan Bao and requested them to give their signatures

   and confirm that they had received $600,000.00 (USD) in 2016 and also requested

   them to give their signatures and confirm that they had received $270,000.00

   (USD) after February 2017 remitted by the Plaintiffs. They also asked them to

   promise to return all the money to the Plaintiffs before December 31, 2018. After

   the two Defendants received through WeChat the pictures for the two borrowing

   contracts, they refused to give their signatures.

58. On January 24, 2019, in response to verbal protests by the Plaintiffs, the

   Defendant Xuguang Wang sent a “RECEIPT” from his personal email address

   jason0108@msn.com to Shuzhong Bao’s personal email address

   13321857927@163.com. That receipt was written signed by the Defendant

   Xuguang Wang and the Defendant Xuguang Wang’s signature is “Jason Wang”.

59. The contents of the “RECEIPT” are: “Received 0.6 million US dollars as the

   money for investment from Shuzhong Bao, used to purchase the real estate

   located at 506 Piermont Ave Piermont NY 10968. For this, the company 506

   Piermont Holding Inc. and the company Sunwoo Trade Inc, which owns the

   restaurants Freelance Café and the restaurant Xaviars which was later

   renamed the Kitchen in the Hudson Valley were established. If the business and

   the real estate are sold out, Mr. Bao’s $600,000.00 (USD) (money for

   investment) will be returned preferentially. Regarding the loss for both parties, it

                                           12
   Case 7:19-cv-08062-AEK Document 1 Filed 08/28/19 Page 13 of 17




   will be settled through friendly negotiations between the two parties.”

60. As the above-mentioned “RECEIPT” does not establish the position of the

   Plaintiffs as shareholders and does not establish their investment rights and

   interests, does not fix the specific time for returning the money and does not

   mention the $270,000.00 (USD) of investment fund, the two Plaintiffs continue to

   ask the Defendants to return their money.

61. At a later date, the Defendant Xuguang Wang and the Defendant Yifan Bao

   promised orally several times that they would sell their real estate of the family at

   several places to return the money to the two Plaintiffs.

62. In July 2019 the Defendant Xuguang Wang and the Defendant Yifan Bao sold real

   estate owned by their family at Seattle and they obtained more than

   $300.000.00(USD) in cash proceeds from the sale.

63. In August 2019, the Defendant Xuguang Wang and the Defendant Yifan Bao again

   rejected the Plaintiffs’ demands to use the money they obtained through selling

   their real estate to satisfy their debt obligation to the two Plaintiffs. To the

   contrary, the Defendants instead began to utter unkind words to the Plaintiffs in

   response to their demands.

64. To date, the Defendants have not provided or repaid any of the Investment Funds

   to satisfy their outstanding debt to the Plaintiffs.

65. To date, the Defendants have not given any company ownership shares to the

   Plaintiffs and have to the Plaintiffs.

66. The Defendants currently owe Plaintiffs a debt in the amount of $867.000.00

                                            13
   Case 7:19-cv-08062-AEK Document 1 Filed 08/28/19 Page 14 of 17




   (USD), the total amount of Investment Funds that was provided to the Defendants

   by the Plaintiffs.

67. In total, Plaintiffs are entitled to recover of Defendants $867.000.00(USD), plus

   costs, fees, and interest, and any such other relief as deemed appropriate by the

   Court.




                                    FIRST COUNT

                                  Breach of Contract

68. Plaintiffs re-allege and incorporate by reference all allegations in all proceeding

   paragraphs as if fully set forth herein.

69. Since the year of 2016, Defendants have all the time promised by oral or written

   statements to the Plaintiffs that the money they invested would be used to

   purchase the housing property and for the restaurant business located at 506

   Piermont Ave, Piermont, NY 10968 and promised because of the investment by

   the Plaintiffs, Plaintiffs will obtain 50% of the companies’ shares.

70. Defendants are holding the invested fund of the Plaintiffs, but failed to fulfill the

   obligations as described in the agreements, and have communicated the intent to

   fail the obligation to give the companies’ shares or return these funds.

71. Accordingly, the Defendants have breached the above-referenced duly established

   oral contract with the Plaintiffs.

72. Wherefore, Plaintiffs demand judgment against Defendants in the amount of

   $867.000.00(USD), plus consequential damages, punitive damages, costs, fees,

                                              14
   Case 7:19-cv-08062-AEK Document 1 Filed 08/28/19 Page 15 of 17




   and interest, and any such other relief as deemed appropriate by the Court.




                                  SECOND COUNT

                                  Unjust Enrichment

73. The Plaintiffs re-allege and incorporate by reference all allegations in all

   proceeding paragraphs as if fully set forth herein.

74. The Plaintiffs have transferred to Defendants possession of certain subject funds.

75. The subject funds were provided based upon Defendants’ representation that they

   would provide the Plaintiffs a 50% share of the equity of these companies.

76. As of this date, the Defendants are still in possession of the subject funds and have

   refused all of the Plaintiffs’ demands for repayment.

77. The Defendants are wrongfully withholding the subject funds and have refused to

   return them to the Plaintiffs despite the Plaintiffs’ demands for the return of their

   funds.

78. As a result of Defendants’ withholding of these funds, they have been unjustly

   enriched of the Plaintiffs’ money in the amounts set forth herein.

79. Wherefore, Plaintiffs demand judgment against Defendants in the amount of

   $867.000.00(USD), plus consequential damages, punitive damages, costs, fees,

   and interest, and any such other relief as deemed appropriate by the Court.




                                    THIRD COUNT

                                         Fraud

                                            15
   Case 7:19-cv-08062-AEK Document 1 Filed 08/28/19 Page 16 of 17




80. Plaintiffs re-allege and incorporate by reference all allegations in all proceeding

   paragraphs as if fully set forth herein.

81. The subject funds of the Plaintiffs’ were provided based upon the Defendants’

   fraudulently induced representation that the Plaintiffs would be given the 50%

   shares of the companies.

82. The Defendants have intentionally misrepresented facts and their intentions in

   order to mislead the Plaintiffs into providing the Defendants with a large amount

   of money.

83. The Defendants have wrongfully and without legal right refused Plaintiffs’

   requests to return the subject funds.

84. Wherefore, the Plaintiffs demand judgment against the Defendants in the amount

   of $867.000.00(USD), plus consequential damages, punitive damages, costs, fees,

   and interest, and any such other relief as deemed appropriate by the Court.




WHEREFORE, the Plaintiffs request the following relief against the Defendants:

   a) On the First Count, the Plaintiffs demand judgment against the Defendants in

       the amount of $867.000.00(USD), plus consequential damages, punitive

       damages, costs, fees, and interest, and any such other relief as deemed

       appropriate by the Court;

   b) On the Second Count, the Plaintiffs demand judgment against the Defendants

       in the amount of $867.000.00(USD), plus consequential damages, punitive

                                              16
   Case 7:19-cv-08062-AEK Document 1 Filed 08/28/19 Page 17 of 17




       damages, costs, fees, and interest, and any such other relief as deemed

       appropriate by the Court; and

   c) On the Third Count, demand judgment against the Defendants in the amount

       of $867.000.00(USD), plus consequential damages, punitive damages, costs,

       fees, and interest, and any such other relief as deemed appropriate by the

       Court.




                                  JURY TRIAL DEMAND

Plaintiffs, as provided by Rule 38 of the Federal Rules of Civil Procedure, requests a

trial by jury in the above-captioned matter.




Dated: August 27, 2019
      New York, New York



                                                   JW PRACTICE GROUP LLC.

                                                By:__/s/ Curt Donald Schmidt___

                                                    Curt D. Schmidt, Esq.

                                                   Of counsel,
                                                   Attorneys for Plaintiffs
                                                   136-20 38th Ave. 3A1
                                                   Flushing NyY11354
                                                   Tel:(516)208-4562
                                                   Fax:(866)728-3634
                                                   yiweilawfirm@gmail.com



                                           17
